                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


 GOVERNMENT EMPLOYEES INSURANCE CO.,
 GEICO INDEMNITY CO., GEICO GENERAL
 INSURANCE COMPANY and GEICO CASUALTY
 CO.,                                                          Case No: 3:23-cv-00590-
                                                                     FDW-SCR
                                     Plaintiffs,
                –against–

 APEX SPINE & ORTHOPAEDICS, PLLC, ERIK T.
 BENDIKS, M.D., ADVANCED PAIN
 CONSULTANTS, P.A., and SONIA P. PASI, M.D.,

                                     Defendants.


         STIPULATION OF DISMISSAL OF DEFENDANTS ADVANCED PAIN
                  CONSULTANTS, P.A. AND SONIA PASI, M.D.

       IT IS HEREBY STIPULATED AND AGREED by and between counsel for Plaintiffs

Government Employees Insurance Co., GEICO Indemnity Co., GEICO General Insurance

Company, and GEICO Casualty Co. (“Plaintiffs”), and Defendants Sonia Pasi, M.D. and

Advanced Pain Consultants, P.A. (the “Pasi Defendants”), that all claims asserted by Plaintiffs

against the Pasi Defendants in this action are dismissed, with prejudice and without costs, pursuant

to Fed. R. Civ. Proc. 41(a)(1).

By: /s/ Christie M. Hayes
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing
STIPULATION OF DISMISSAL OF DEFENDANTS ADVANCED PAIN CONSULTANTS,
P.A. AND SONIA PASI, M.D. has been served upon counsel for the parties in interest herein by
electronic mailing and/or ECF.


This 30th day of September, 2024.

                                    /s/ Christie M. Hayes
                                    Christie M. Hayes, N.C. State Bar No. 41770




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